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10

11                                     UNITED STATES DISTRICT COURT
                                     NORTHERN DISTRICT OF CALIFORNIA
12

13   CALLIE GREEN, on behalf of herself, all           Case No: 22-cv-3931-JSC
     others similarly situated, and the general
14   public,
                                                       PLAINTIFF’S NOTICE OF VOLUNTARY
15                           Plaintiff,                DISMISSAL OF THE ACTION WITHOUT
                                                       PREJUDICE
16                 v.
                                                      [Fed. R. Civ. P. 41(a)(1)(A)(i)]
17
     THE HAIN CELESTIAL GROUP, INC.
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                        Defendant.
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                             Green v. The Hain Celestial Group, Inc., No. 22-cv-03931-JSC
                                          NOTICE OF VOLUNTARY DISMISSAL
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 1          TO THE COURT, ALL PARTIES, AND THEIR COUNSEL OF RECORD, PLEASE TAKE

 2   NOTICE THAT: Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff Callie Green voluntarily dismisses this

 3   action without prejudice.

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 5   Dated: October 24, 2022                            /s/ Jack Fitzgerald

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                                       NOTICE OF VOLUNTARY DISMISSAL
